  Case 4:19-cr-00178-WTM-CLR Document 29-1 Filed 06/08/20 Page 1 of 13


                                                                                    APPEAL,CLOSED
                            U.S. District Court
                  Southern District of Georgia (Savannah)
         CRIMINAL DOCKET FOR CASE #: 4:19−cr−00178−WTM−CLR−1

Case title: USA v. Maynor                                   Date Filed: 11/01/2019
                                                            Date Terminated: 06/01/2020

Assigned to: Judge William T.
Moore, Jr
Referred to: Magistrate Judge
Christopher L. Ray

Defendant (1)
Edward Maynor                        represented by Dwight T. Feemster
TERMINATED: 06/01/2020                              Duffy & Feemster, LLC
                                                    340 Eisenhower Drive
                                                    Suite 800
                                                    Savannah, GA 31406
                                                    912−236−6311
                                                    Fax: 912−236−7641
                                                    Email: dwight@duffyfeemster.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: CJA Appointment

Pending Counts                                     Disposition
                                                   Defendant is hereby committed to the custody of the
18 U.S.C. § 922(j) Possession of a
                                                   USBOP for a term of 70 months; supervised release
Stolen Firearm
                                                   for a term of 3 years; standard/special conditions of
(1)
                                                   supervision; assessment of $100.00

Highest Offense Level
(Opening)
Felony

Terminated Counts                                  Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                         Disposition

                                                                                                           1
  Case 4:19-cr-00178-WTM-CLR Document 29-1 Filed 06/08/20 Page 2 of 13


None



Plaintiff
USA                                        represented by Marcela C. Mateo
                                                          U.S. Attorney's Office − Savannah
                                                          P.O. Box 8970
                                                          22 Barnard Street, Suite 300
                                                          Savannah, GA 31401
                                                          912−652−4422
                                                          Fax: 912−652−4388
                                                          Email: Marcela.Mateo@usdoj.gov
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED
                                                          Designation: Retained

                                                          Frank Morgan Pennington , II
                                                          U.S. Attorney's Office − Savannah
                                                          P.O. Box 8970
                                                          22 Barnard Street, Suite 300
                                                          Savannah, GA 31401
                                                          Email: frank.pennington@usdoj.gov
                                                          ATTORNEY TO BE NOTICED
                                                          Designation: Retained

                                                          Karl Irving Knoche
                                                          U.S. Attorney's Office − Savannah
                                                          P.O. Box 8970
                                                          22 Barnard Street, Suite 300
                                                          Savannah, GA 31401
                                                          912−652−4422
                                                          Fax: 912−652−4388
                                                          Email: karl.knoche@usdoj.gov
                                                          Designation: Retained

 Date Filed   #   Page Docket Text
 11/01/2019   1        INFORMATION as to Edward Maynor (1) count(s) 1. (jrb) (Entered:
                       11/01/2019)
 11/01/2019   2        PENALTY CERTIFICATION by Government as to Edward Maynor. (jrb)
                       (Entered: 11/01/2019)
 11/04/2019   4        CJA 20 − TEXT ORDER for Appointment of Attorney as to Edward Maynor:
                       Appointment of Attorney Dwight Feemster. Signed by Magistrate Judge
                       Christopher L. Ray on 11/04/2019. (MD) (Entered: 11/04/2019)
 11/04/2019   5        NOTICE OF HEARING as to Edward Maynor. Arraignment and Initial
                       Appearance set for 11/6/2019 09:00 AM in Savannah − Mag Jud Courtroom
                       before Magistrate Judge Christopher L. Ray. (MD) (Entered: 11/04/2019)
 11/04/2019   6        NOTICE OF ATTORNEY APPEARANCE: Dwight T. Feemster appearing for

                                                                                                2
 Case 4:19-cr-00178-WTM-CLR Document 29-1 Filed 06/08/20 Page 3 of 13



                  Edward Maynor (Feemster, Dwight) (Entered: 11/04/2019)
11/04/2019    7   NOTICE OF HEARING as to Edward Maynor. Change of Plea Hearing set for
                  11/6/2019 04:00 PM in Savannah − 3rd Floor before Judge William T. Moore,
                  Jr. (jgb) (Entered: 11/04/2019)
11/06/2019    8   Minute Entry for proceedings held before Magistrate Judge Christopher L. Ray:
                  Initial Appearance and Arraignment as to Edward Maynor (1) Count 1 held on
                  11/6/2019. Defendant detained on a previous detention order. (Tape
                  #FTR−SAV.) (MD) (Additional attachment(s) added on 11/6/2019: # 1 Backer)
                  (loh). (Entered: 11/06/2019)
11/06/2019    9   WAIVER OF INDICTMENT by Edward Maynor. (loh) (Entered: 11/06/2019)
11/06/2019   10   CHANGE OF PLEA entered by Edward Maynor (1) Guilty Count 1. (jgb)
                  (Entered: 11/07/2019)
11/06/2019   11   Minute Entry for proceedings held before Judge William T. Moore, Jr.: Change
                  of Plea Hearing as to Edward Maynor held on 11/6/2019. (Court Reporter
                  Victoria Root.) (jgb) (Entered: 11/07/2019)
03/02/2020   12   MOTION Permission to Leave a Copy of the PSR with Defendant by Dwight T.
                  Feemster as to Edward Maynor. Responses due by 3/16/2020. (Feemster,
                  Dwight) (Entered: 03/02/2020)
03/02/2020   13   ORDER denying 12 Motion Seeking Permission to Leave a Copy of the
                  Presentence Investigation Report with Defendant as to Edward Maynor (1).
                  Signed by Judge William T. Moore, Jr. on 03/02/2020. (JH) (Entered:
                  03/02/2020)
05/13/2020   14   ORDER as to Edward Maynor, ( Sentencing set for 5/28/2020 03:00 PM in
                  Savannah − 3rd Floor before Judge William T. Moore, Jr.). Signed by Judge
                  William T. Moore, Jr. on 5/12/20. (jgb) (Entered: 05/13/2020)
05/18/2020   15   NOTICE of Intent Under 609 by Edward Maynor (Feemster, Dwight) (Entered:
                  05/18/2020)
05/19/2020   16   Final Presentence Investigation Report as to Edward Maynor (USPO) (Entered:
                  05/19/2020)
05/26/2020   17   MOTION to Seal Document by Dwight T. Feemster as to Edward Maynor.
                  Responses due by 6/9/2020. (Feemster, Dwight) (Entered: 05/26/2020)
05/27/2020   18   ORDER denying 17 Motion to Seal Document as to Edward Maynor (1). Signed
                  by Judge William T. Moore, Jr. on 5/27/20. (jgb) (Entered: 05/27/2020)
05/27/2020   19   SENTENCING MEMORANDUM by Edward Maynor (Attachments: # 1
                  Exhibit Transcript 07.25.18, # 2 Exhibit 911 Call Transcript, # 3 Exhibit
                  Original report, # 4 Exhibit video disk, file with court, # 5 Exhibit Report
                  supplemental, # 6 Exhibit Probation supervision, # 7 Exhibit Grand jury
                  04.03.18)(Feemster, Dwight) (Entered: 05/27/2020)
05/28/2020   20   WITNESS LIST by USA as to Edward Maynor (jgb) (Entered: 05/28/2020)
05/28/2020   21   EXHIBIT LIST by USA as to Edward Maynor (Attachments: # 1 Exhibit
                  1(DVD − located in file), # 2 Exhibit 2)(jgb) (Entered: 05/28/2020)


                                                                                                  3
 Case 4:19-cr-00178-WTM-CLR Document 29-1 Filed 06/08/20 Page 4 of 13



05/28/2020   22   EXHIBIT LIST by Edward Maynor (jgb) (Entered: 05/28/2020)
05/28/2020   23   Minute Entry for proceedings held before Judge William T. Moore, Jr.:
                  Sentencing held on 5/28/2020 for Edward Maynor (1), Count(s) 1, Defendant is
                  hereby committed to the custody of the USBOP for a term of 70 months;
                  supervised release for a term of 3 years; standard/special conditions of
                  supervision; assessment of $100.00. (Court Reporter Victoria Root.) (jgb)
                  (Entered: 05/28/2020)
05/28/2020   24   PLEA AGREEMENT as to Edward Maynor. (jgb) (Entered: 05/28/2020)
05/28/2020        Plea Agreement Accepted as to Edward Maynor. (jgb) (Entered: 05/28/2020)
06/01/2020   25   JUDGMENT as to Edward Maynor (1), Count 1, Defendant is hereby
                  committed to the custody of the USBOP for a term of 70 months; supervised
                  release for a term of 3 years; standard/special conditions of supervision;
                  assessment of $100.00. Signed by Judge William T. Moore, Jr. on 06/01/2020.
                  (JH) (Entered: 06/02/2020)
06/02/2020   26   Notice of Post−Conviction Consultation Certification (Feemster, Dwight)
                  (Entered: 06/02/2020)
06/04/2020   27   ***ENTERED IN ERROR*** NOTICE of Appeal by Edward Maynor
                  (Feemster, Dwight) Modified on 6/5/2020 (JH). (Entered: 06/04/2020)
06/05/2020   28   NOTICE OF APPEAL by Edward Maynor re 25 Judgment, (Feemster, Dwight)
                  (Additional attachment(s) added on 6/8/2020: # 1 Corrected Document) (JH).
                  (Entered: 06/05/2020)




                                                                                                 4
                   Case
                    Case4:19-cr-00178-WTM-CLR
                          4:19-cr-00178-WTM-CLR Document
                                                 Document29-1
                                                          25 Filed
                                                              Filed 06/01/20
                                                                    06/08/20 Page
                                                                             Page 15 of
                                                                                     of 713
GAS 245B          (Rev. 06/18) Judgment in aCriminal Case
DC Custody TSR



                                         United States District Court
                                                      SOUTHERN DISTRICT OF GEORGIA
                                                              SAVANNAH DIVISION

             UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE

                                  V.

                         Edward Mavnor
                                                                                 Case Number;                 4:19CR00178-1

                                                                                 USM Number:                  13969-058




                                                                                 Dwight T. Feemster
                                                                                 Defendant's Attorney
THE DEFENDANT:

IE pleaded guilty to Count I.
□ pleaded nolo contendere to Count(s)                         which was accepted by the court.

□ was found guilty on Count(s)                         after a plea of not guilty.

The defendant is adjudicated guilty of this offense:

Title & Section                   Nature of Offense                                                                 Offense Ended         Count


18U.S.C. §9220),                  Possession of a stolen firearm                                                   September 8, 2017
18U.S.C. 924(a)(2)

      The defendant is sentenced as provided in pages 2 through                      of this Judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on Count(s)

IE Count I of the Superseding Indictment (4:18CR00167-1) is dismissed as to this defendant on the motion of the United States.

          It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic circumstances.

                                                                             May 28,2020
                                                                             Date of Imposition of Judgment




                                                                             Signature of Judge



                                                                             William T. Moore, Jr.
                                                                             Judge, U.S. District Court
                                                                             Name and Title of Judge


                                                                             Date




                                                                                                                                             5
                      Case
                       Case4:19-cr-00178-WTM-CLR
                             4:19-cr-00178-WTM-CLR Document
                                                    Document29-1
                                                             25 Filed
                                                                 Filed 06/01/20
                                                                       06/08/20 Page
                                                                                Page 26 of
                                                                                        of 713
GAS 245B              (Rev. 06/18) Judgment in a Criminal Case                                                         Judgment — Page 2 of7
DC Custody TSR

DEFENDANT:                   Edward Maynor
CASE NUMBER:                 4:19CR00178-1



                                                                   IMPRISONMENT

            The defendant is hereby committed to the custody ofthe Federal Bureau of Prisons to be imprisoned for a total
            term of: 70 months, to be served concurrently with the defendant's supervised release revocation.

     IE)    The Court makes the following recommendations to the Bureau of Prisons:
            It is recommended that the defendant be given credit toward this federal sentence for all time served in custody since
            September 8, 2017, that is not credited toward another sentence. It is recommended that the defendant be evaluated by Bureau
            of Prisons officials to establish his participation in an appropriate program of substance abuse treatment and counseling,
            including the Residential Drug Abuse Program (RDAP), during his term of incarceration. It is further recommended that the
            defendant be designated to a Bureau of Prisons facility in Atlanta, Georgia.

     IE!    The defendant is remanded to the custody ofthe United States Marshal.

     □      The defendant shall surrender to the United States Marshal for this district:

           □     at                                  □      a.m.    □ p.m.           on                                       .
           □     as notified by the United States Marshal.

     □      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           □     before 2 p.m. on                                                          .
           □     as notified by the United States Marshal.
           □     as notified by the Probation or Pretrial Services Office.


                                                                        RETURN

I have executed this judgment as follows:




           Defendant delivered on                                                              to

at                                                        , with a certified copy of this Judgment.


                                                                                                         UNITED STATES MARSHAL




                                                                                By
                                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                                               6
GAS 245B
                 Case
                   Case4:19-cr-00178-WTM-CLR
                            4:19-cr-00178-WTM-CLR Document
                 (Rev. 06/18) Judgment in a Criminal Case
                                                          Document29-1
                                                                   25 Filed
                                                                       Filed 06/01/20
                                                                             06/08/20 Page
                                                                                      PageJudgment
                                                                                            37 of
                                                                                               of 713
                                                                                                   — Page 3 of7
DC Custody TSR

DEFENDANT:               Edward Maynor
CASE NUMBER:            4:19CR00178-1



                                                    SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: 3 years.

                                                 MANDATORY CONDITIONS

1.    You must not commit another federal, state, or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to 1 drug test within 15 days of release
      from imprisonment and at least 2 periodic drug tests thereafter, as determined by the court.
       □ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
      substance abuse. (Check, ifapplicable.)
4.     lEl You must cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)
5.    □ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
      directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
      works, is a student, or was convicted of a qualifying offense. (Check, ifapplicable.)
6.    □ You must participate in an approved program for domestic violence. (Check, ifapplicable.)
7.    □ You must make restitution in accordance with 18 §§ U.S.C. 2248, 2259, 2264,2327, 3663,3663A, and 3664. (Check, ifapplicable.)
8.    You must pay the assessment imposed in accordance with 18 § U.S.C. 3013.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions
on the attached page.




                                                                                                                                       7
                  Case
                   Case4:19-cr-00178-WTM-CLR
                         4:19-cr-00178-WTM-CLR Document
                                                Document29-1
                                                         25 Filed
                                                             Filed 06/01/20
                                                                   06/08/20 Page
                                                                            Page 48 of
                                                                                    of 713
GAS 245B          (Rev. 06/18)Judgment in a Criminal Case                                                         Judgment — Page 4 of7
DC Custody TSR

DEFENDANT:               Edward Maynor
CASE NUMBER:             4:19CR00178-1



                                      STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

  1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
       time frame.

  2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
  3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
       the court or the probation officer.
  4.   You must answer truthfully the questions asked by your probation officer.
  5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
     notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer
       within 72 hours of becoming aware of a change or expected change.
  6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
     officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
  7. You must work full time (at least 30 hours per week)at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
     you fi-om doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
       10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
  8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
       been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
       permission of the probation officer.
  9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e. anything that
     was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as a nunchakus or
       tasers).
 11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
       without first getting permission from the court.
 12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
     require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified that person about the risk.
 13.   You must follow the instructions ofthe probation officer related to the conditions ofsupervision.

U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provide me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                Date




                                                                                                                                          8
                 Case
                  Case4:19-cr-00178-WTM-CLR
                        4:19-cr-00178-WTM-CLR Document
                                               Document29-1
                                                        25 Filed
                                                            Filed 06/01/20
                                                                  06/08/20 Page
                                                                           Page 59 of
                                                                                   of 713
GAS 245B         (Rev. 06/18) Judgment in a Criminal Case                                                   Judgment — Page 5 of7
DC Custody TSR

DEFENDANT:              Edward Maynor
CASE NUMBER:            4:19CR00178-1



                                        SPECIAL CONDITIONS OF SUPERVISION


   1. You must submit to substance abuse testing to determine if you have used a prohibited substance. You must not attempt to
       obstruct or tamper with the testing methods.

  2. You must submit your person, property, house, residence, office, vehicle, papers, computers (as defined in 18 U.S.C. §
     1030(e)(1)), other electronic communications or data storage devices or media, to a search conducted by a United States
     probation officer. Failure to submit to a search may be grounds for revocation of release. You must warn any other occupants
     that the premises may be subject to searches pursuant to this condition. The probation officer may conduct a search under this
     condition only when reasonable suspicion exists that you have violated a condition of supervision and that the areas to be
     searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a reasonable manner.




                                                                                                                                    9
                  Case
                    Case
                       4:19-cr-00178-WTM-CLR
                         4:19-cr-00178-WTM-CLRDocument
                                                Document
                                                       29-1
                                                         25 Filed
                                                            Filed 06/08/20
                                                                  06/01/20 Page
                                                                           Page 10
                                                                                6 ofof713
GAS 245B           (Rev. 06/18) Judgment in a Criminal Case                                                         Judgment — Page 6 of7
DC Custody TSR

DEFENDANT:                Edward Maynor
CASE NUMBER:              4:19CR00178-1




                                              CRIMINAL MONETARY PENALTIES

    The defendant must pay the total criminal monetary penalties under the schedule of payments.

                 Assessment        JVTA Assessment *                 Fine                                  Restitution
TOTALS           $100


□     The determination of restitution is deferred until                           . An Amended Judgment in a Criminal Case(A0245C)
      will be entered after such determination.


□     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
      victims must be paid before the United States is paid.

Name of Payee                                 Total Loss**                    Restitution Ordered                   Priority or Percentage




TOTALS


□      Restitution amount ordered pursuant to plea agreement S

□      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the schedule of
       payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

□      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      □    the interest requirement is waived for the          □   fine     □ restitution.
      □    the interest requirement for the           □ fine       □ restitution is modified as follows:

* Justice for Victims of trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.




                                                                                                                                            10
                 Case
                   Case
                      4:19-cr-00178-WTM-CLR
                        4:19-cr-00178-WTM-CLRDocument
                                               Document
                                                      29-1
                                                        25 Filed
                                                           Filed 06/08/20
                                                                 06/01/20 Page
                                                                          Page 11
                                                                               7 ofof713
GAS 245B          (Rev. 06/18)Judgment in a Criminal Case                                                               Judgment — Page 7 of7
DC Custody TSR

DEFENDANT:                 Edward Maynor
CASE NUMBER:             4:19CR00178-1



                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    13 Lump sum payment of$100 due immediately.

           □     not later than _                                 , or
           □     in accordance      [DC,      □ D,          □ E, or      □ F below; or

B    □ Payment to begin immediately (may be combined with                   DC,          □ D, or         DP below); or

C    Q Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                    (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or
D    □ Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                    (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    □ Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
       imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F    □     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

□      Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.



□      The defendant shall pay the cost of prosecution,

□      The defendant shall pay the following court cost(s):

□      The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.




                                                                                                                                                11
CaseCase
     4:19-cr-00178-WTM-CLR
         4:19-cr-00178-WTM-CLR
                            Document
                               Document
                                     28 (Court
                                         29-1 only)
                                               Filed 06/08/20
                                                      Filed 06/05/20
                                                                Page 12
                                                                      Page
                                                                        of 13
                                                                            1 of 1



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION

 UNITED STATES OF AMERICA,                      )
                                                )
 vs.                                            )     Case Number 4:17-CR-00257-WTM-CLR
                                                )
 EDWARD MAYNOR,                                 )
                                                )
         DEFENDANT.                             )

                                     NOTICE OF APPEAL

       Notice is hereby given that Edward Maynor, Defendant in the-above named case, hereby

appeals to the United States Court of Appeals for the Eleventh Circuit from the Judgment in a

Criminal case entered in this action June 1, 2020.

                                                                  DUFFY & FEEMSTER, LLC

                                                                          /s/ Dwight T. Feemster
 340 Eisenhower Drive                                                  DWIGHT T. FEEMSTER
 Suite 800, Second Floor                                            Georgia State Bar No. 257253
 Savannah, GA 31406                                                       Attorney for Defendant
 Phone: (912) 236-6311
 Fax: (912) 236-6423
 Dwight@duffyfeemster.com




                                  CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in accordance

with the notice of electronic filing (“NEF”) which was generated as a result of electronic filing in

this Court.

                                                                    DUFFY & FEEMSTER, LLC

                                                                           /s/ Dwight T. Feemster
                                                                        DWIGHT T. FEEMSTER
                                                                     Georgia State Bar No. 257253
                                                                          Attorney for Defendant



                                                                                                       12
    Case
     Case4:19-cr-00178-WTM-CLR
          4:19-cr-00178-WTM-CLR Document
                                 Document29-1
                                          28-1 Filed
                                                Filed06/08/20
                                                      06/05/20 Page
                                                                Page13
                                                                     1 of 1
                                                                          13



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION

 UNITED STATES OF AMERICA,                      )
                                                )
 vs.                                            )     Case Number 4:19-CR-00178-WTM-CLR
                                                )
 EDWARD MAYNOR,                                 )
                                                )
         DEFENDANT.                             )

                                     NOTICE OF APPEAL

       Notice is hereby given that Edward Maynor, Defendant in the-above named case, hereby

appeals to the United States Court of Appeals for the Eleventh Circuit from the Judgment in a

Criminal case entered in this action June 1, 2020.

       Respectfully submitted this 5th day of June, 2020.

                                                                  DUFFY & FEEMSTER, LLC

                                                                          /s/ Dwight T. Feemster
 340 Eisenhower Drive                                                  DWIGHT T. FEEMSTER
 Suite 800, Second Floor                                            Georgia State Bar No. 257253
 Savannah, GA 31406                                                       Attorney for Defendant
 Phone: (912) 236-6311
 Fax: (912) 236-6423
 Dwight@duffyfeemster.com


                                  CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in accordance

with the notice of electronic filing (“NEF”) which was generated as a result of electronic filing in

this Court.

                                                                    DUFFY & FEEMSTER, LLC

                                                                           /s/ Dwight T. Feemster
                                                                        DWIGHT T. FEEMSTER
                                                                     Georgia State Bar No. 257253
                                                                          Attorney for Defendant



                                                                                                       13
